
51 So.3d 1241 (2011)
Charles SEVERIN, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-2572.
District Court of Appeal of Florida, Fourth District.
January 19, 2011.
*1242 Jason T. Forman of Law Offices of Jason T. Forman, P.A., Fort Lauderdale, and Kristina Duhaney of Law Offices of Kristina Duhaney, P.A., Fort Lauderdale, for appellant.
No appearance required for appellee.
PER CURIAM.
The court has reviewed the initial brief and affirms because "no preliminary basis for reversal has been demonstrated." Fla. R.App. P. 9.315(a). This appeal involves a successive motion for relief under Florida Rule of Criminal Procedure 3.850(f).
Affirmed.
GROSS, C.J., MAY and LEVINE, JJ., concur.
